     Case 4:23-cv-03556 Document 42 Filed on 12/27/23 in TXSD Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DARAIUS DUBASH, and DR. FARAZ         §
HARSINI                               §
                                      §
Plaintiffs,                           §                    CIVIL ACTION
                                      §                    CASE NO. 4:23-cv-03556
v.                                    §
                                      §
CITY OF HOUSTON, TEXAS;               §
HOUSTON DOWNTOWN PARK                 §
CORPORATION; OFFICER ROBERT           §
DOUGLAS (# 7943), in his Individual   §
capacity; OFFICER VERN WHITWORTH §
(# 7595), in his individual capacity; §
DISCOVERY GREEN CONSERVANCY           §
f/k/a HOUSTON DOWNTOWN PARK           §
CONSERVANCY; and BARRY MANDEL, §
in his individual capacity,           §
                                      §
Defendants.                           §


     DEFENDANTS’ UNOPPOSED JOINT MOTION TO EXCEED PAGE LIMITS
              FOR RESPONSIVE MEMORANDA OF LAW TO
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

   NOW COME, THE CITY OF HOUSTON; HOUSTON DOWNTOWN PARK

CORPORATION; OFFICER ROBERT DOUGLAS (#7943) in his individual capacity; OFFICER

VERN WHITWORTH (#7595), in his individual capacity; DISCOVERY                           GREEN

CONSERVANCY f/k/a HOUSTON DOWNTOWN PARK CONSERVANCY; and BARRY

MANDEL, in his individual capacity, (hereinafter collectively referred to as “the Defendants”),

and move this Court to exceed page limits for their responsive Memoranda of Law [Docket No.

41] in support thereof, to Plaintiffs’ Motion for Preliminary Injunction [Docket Nos. 13, 15] and

in support thereof would respectfully show the Court as follows:

                                               1
      Case 4:23-cv-03556 Document 42 Filed on 12/27/23 in TXSD Page 2 of 4




                          I.     REQUEST TO EXCEED PAGE LIMITS

       1.      This action involves allegations by Plaintiffs that Defendants violated certain rights

under the United States Constitution, and the Texas Religious Freedom Restoration Act (found

generally at TEX. CIV. PRAC. & REM. CODE § 110.001, et seq.) which was filed on September 20

2023. See Docket No. 1.

       2.      On October 20, 2023, Plaintiffs filed their Motion for Preliminary Injunction. See

Docket Nos. 13, 15. Plaintiffs’ Memorandum of Law in Support exceeded the page limitations

under the Court’s Civil Procedures and leave was agreed upon by Defendants and granted by the

Court on October 26, 2023. See Docket No. 17.

       3.      For the same reasons cited by Plaintiffs and to allow Defendants full opportunity to

respond to the motion and its supporting memorandum, Defendants move the Court to allow it to

exceed the page limits set forth by this Court by five pages. See Judge Andrew S. Hanen’s Civil

Procedures, Rule 7 (L)(1). Specifically, the page limit under the Court’s Civil Procedures is 20

pages and Defendants seek leave to submit a Memorandum of Law no longer than 25 pages,

exclusive of caption, tables of contents, and signature block.

       4.      Accordingly, Defendants respectfully request that the Memorandum of Law in

Support [Docket No. 41] to exceed the 20-page limit.

       5.      Counsel for Plaintiffs have agreed to this Motion in exchange for a similar

extension of page limit on their Reply. Defendants agree.

                                II.     PRAYER FOR RELIEF

        8.     Accordingly, Defendants request that this motion be granted and the Memorandum

of Law in Support of Defendants’ Response to Plaintiffs’ Motion for Preliminary Injunction

exceed the page limit, and Plaintiffs be allowed five additional pages for their Reply.


                                                 2
Case 4:23-cv-03556 Document 42 Filed on 12/27/23 in TXSD Page 3 of 4




                               Respectfully submitted,

                               s/ Andrew S. Holland
                               Andrew S. Holland
                               State Bar No. 24134330
                               Andrew.holland@wilsonelser.com
                               Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
                               909 Fannin St., Suite 3300
                               Houston, TX 77010
                               713-353-2000 tel
                               713-785-7780 fax

                               Attorneys for Defendants City of Houston, Texas,
                               Officer Robert Douglas (#7943), Officer Vern
                               Whitworth      (#7595),    Discovery      Green
                               Conservancy, and Barry Mandel

                               s/ Laura Flores Macom
                               Michael H. Wallis
                               State Bar No. 24033426
                               Laura Flores Macom
                               State Bar No. 24002512
                               Thornton, Biechlin, Reynolds & Guerra, L.C.
                               One International Center
                               100 N.E. Loop 410, Suite 500
                               San Antonio, TX 78216-4741
                               (210) 581-0294 tel
                               (210) 525-0666 fax

                               Attorneys for      Houston    Downtown        Park
                               Corporation




                                  3
     Case 4:23-cv-03556 Document 42 Filed on 12/27/23 in TXSD Page 4 of 4




                             CERTIFICATE OF CONFERENCE

       I, Laura Flores Macom, certify that today, December 27, 2023, I conferred with counsel of
record for Plaintiffs via email regarding their position on this motion. They have agreed to the
motion in exchange for a similar extension of page limit for their Reply, to which Defendants
agree.


                                             s/ Laura Flores Macom
                                             LAURA FLORES MACOM




                                CERTIFICATE OF SERVICE

       I, Laura Flores Macom, certify that today, December 27, 2023, I filed the Defendants’ joint
motion to exceed page limit with Next Gen CM/ECF, for filing and service upon all attorneys who
have appeared.

                                             s/ Laura Flores Macom
                                             LAURA FLORES MACOM




                                                4
